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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

STATE AUTOMOBILE MUTUAL                      §
INSURANCE COMPANY                            §
                                             §
       Plaintiff                             §
                                             §
v.                                           §
                                             §
FREEHOLD MANAGEMENT,                         §          CIVIL ACTION NO.
INC. AND RETAIL PLAZAS, INC.                 §          3:16-cv-02255-L
                                             §
       Defendants                            §
                                             §
v.                                           §
                                             §
FREEHOLD MANAGEMENT,                         §
INC., RETAIL PLAZAS, INC., AND               §
RPI DENTON CENTER, LTD.                      §
                                             §
       Counter-Plaintiffs                    §

     DEFENDANTS AND COUNTER-PLAINTIFFS’ BRIEF IN SUPPORT OF
     AMENDED MOTION TO STRIKE THE EXPERT TESTIMONY OF PAUL
                            NILLES

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Defendants, Freehold Management, Inc. and Retail Plazas, Inc., and Counter-

Plaintiffs, Freehold Management, Inc., Retail Plazas, Inc., and RPI Denton Center, LTD.

(hereafter collectively “Freehold” or “the Freehold Entities”) file this brief in support of

their amended motion to strike the expert testimony of Paul Nilles. In support of this

motion, the Freehold Entities would show this honorable Court the following:




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                              SUMMARY OF THE ARGUMENT

       The testimony of Plaintiff’s designated expert, Paul Nilles, is not relevant to the

issues remaining in this case. As a result, this testimony should be stricken because it

will not help the jury. See FED R. EVID. 702.

                                 FACTUAL BACKGROUND

       Freehold Management purchased an insurance policy from State Auto to cover

property losses at a shopping center located at 500-1900 W. University Dr., Denton,

Texas 76201 (hereafter “Denton Center”). (Document 1 at 2) On or about April 3, 2014,

during the subject policy period, a wind and hail storm caused substantial damage to

Denton Center. (Document 1 at 2) Freehold Management thereafter reported this loss to

Frank Swingle of Swingle, Collins & Associates, who reported same to State Auto.

(Document 16-1 at 5)

       State Auto assigned an adjuster, Sherri King, Executive General Adjuster to

adjust Freehold Management’s insurance claim. (Document 16-1 at 5) Ms. King, on

behalf of State Auto, hired Paul Nilles & Construction, LLC to estimate the cost to repair

the damage and Haag Engineering (hereinafter “Haag”) to investigate the loss.

(Document 16-1 at 5)

       On July 15, 2014, State Auto issued a partial denial of the Freehold entities’ claim

stating “Our investigation has determined that some of the damages to the roof

structures are not covered under the aforementioned policy,” and relying on Haag’s

conclusions. During the course of the claim, State Auto made payments totaling

$1,036,397.17 to Freehold Management for hail damage from the subject storm, but

maintained that the all of built up roofs of the Denton Center (which are the subject of

this litigation) were not damaged based upon Haag’s findings. (Document 16-1 at 7)



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      Disagreeing with State Auto, Freehold Management hired Matt Phelps of APEC

Engineering and Laboratory LLC (hereinafter “APEC”) to conduct an independent

inspection of the Kroger roof damage. (Document 16-1 at 7) APEC found that both wind

and hail damaged the built up Kroger roof. (Document 16-1 at 7)

      The Freehold Entities provided APEC’s report on the Kroger roof to State Auto.

(Document 16-1 at 7) Thereafter, State Auto informed Freehold Management that it

found APEC’s report unpersuasive, rejected APEC’s conclusions, and stood by its denial

for payment of the Kroger roof damage, based upon Haag’s report. (Document 16-1 at 7-

8) Thereafter, the Freehold Entities sent State Auto a demand letter on June 20, 2016.

Instead of trying to resolve the matter, State Auto’s response to the demand letter was to

file a declaratory action against Freehold in Federal Court on August 3, 2016.

(Document 1)

      After State Auto filed suit, APEC created a second report regarding the additional

built up roofs at the Denton Center, which it determined all needed to be replaced.

(Document 16-1 at 8) The Freehold Entities’ current estimates for replacement of all of

the built up roofs (including Kroger) and underlying decking at the Denton Center

damaged by the April 3, 2014 storm are in the range of approximately $14,000,000-

$16,000,000.

                        RELEVANT PROCEDURAL BACKGROUND

        On August 3, 2016, State Auto filed for a Declaratory Judgment requesting that

 the Court find:




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 (Document 1)

          The Freehold Entities filed counterclaims for breach of contract, violations of

the Texas Insurance Code, violations of the Texas Deceptive Trade Practices Act, and

breach of the common law duty of good faith and fair dealing. (Documents 6, 16-1, and

25) Freehold seeks the unpaid withheld depreciation and payment for the denied

damages to the built up roofs and underlying decking at the Property. (Documents 6,

16-1, and 25) Freehold does not dispute the replacement cost value estimates for the

items that State Auto accepted coverage on. (Documents 6, 16-1, and 25)

          On January 15, 2018, Plaintiff filed its supplemental expert disclosures in this

case, designating Paul Nilles as an expert and including a two page report. (Document

37 & Appendix pages 97-99) Thereafter, on June 1, 2018, Plaintiff filed its second

supplemental expert disclosures. (Document 74) In its designation of Nilles, Plaintiff

stated:




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(Document 74 at 8-9)


      Paul Nilles was deposed by Freehold on April 10, 2018. (Appendix pages 3-96)

The discovery period in this case ended on June 4, 2018.      (Document 52 at 4) This

case is set for trial on February 4, 2o19. (Document 92)

                            ARGUMENT AND AUTHORITIES

A. Legal Standard

      Rule 702 provides:

      A witness who is qualified as an expert by knowledge, skill, experience,
      training, or education may testify in the form of an opinion or otherwise if:

      (a) the expert’s scientific, technical, or other specialized knowledge will
      help the trier of fact to understand the evidence or to determine a fact in




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       issue;

       (b) the testimony is based on sufficient facts or data;

       (c) the testimony is the product of reliable principles and methods; and

       (d) the expert has reliably applied the principles and methods to the facts
       of the case.

FED. R. EVID. 702 (emphasis added). Under Daubert, expert testimony is admissible

only if the proponent demonstrates that: (1) the expert is qualified; (2) the evidence is

relevant to the suit; and (3) the evidence is reliable. Nerium SkinCare, Inc. v. Nerium

Int'l, LLC, No. 3:16-CV-1217-B, 2018 WL 3520840, at *2 (N.D. Tex. July 3, 2018), report

and recommendation adopted in part sub nom. Nerium SkinCare, Inc. v. Nerium Int'l,

LLC, No. 3:16-CV-1217-B, 2018 WL 3496422 (N.D. Tex. July 20, 2018); See Watkins v.

Telsmith, Inc., 121 F.3d 984, 988-89 (5th Cir. 1997).

       In deciding whether to admit or exclude expert testimony, courts typically

consider five non-exclusive factors:

       1. Whether the theory or technique has been tested;

       2. Whether the theory or technique has been subjected to peer review and
       publication;
       3. The known or potential rate of error of the method used;

       4. The existence and maintenance of standards and controls in the
       methodology; and

       5. Whether the theory or method has been generally accepted by the
       scientific community.

Id.; Daubert, 113 S.Ct. at 2796-97. The purpose of such an inquiry is “to make certain

that an expert, whether basing testimony upon professional studies or personal

experience, employs in the courtroom the same level of intellectual rigor that

characterizes the practice of an expert in the relevant field.” Nerium, No. 3:16-CV-1217-




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B, 2018 WL 3520840, at *2; Skidmore v. Precision Printing and Packaging, Inc., 188

F.3d 606, 618 (5th Cir. 1999) (quoting Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137,

152, 119 S.Ct. 1167, 1176, 143 L.Ed.2d 238 (1999)). The party offering the expert

testimony has the burden of establishing that it is admissible under Rule 702 and

the Daubert–Kuhmo standard. GWTP Investments, L.P. v. SES Americom, Inc., No.

3:04-CV-1383-L, 2007 WL 7630459, at *3 (N.D. Tex. Aug. 3, 2007) See Kumho, 526

U.S. at 147; see also Mathis v. Exxon Corp., 302 F.3d 448, 459–460 (5th Cir.2002).

      1. Relevance

      To be relevant, the testimony must assist “the trier of fact to understand the

evidence or to determine a fact in issue.” FED. R. EVID. 702; see also United States v.

Hicks, 389 F.3d 514, 524 (5th Cir. 2004)(quoting United States v. Bourgeois, 950 F.2d

980, 987 (5 th Cir. 1992)); Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 591

(1993). The Federal Rules of Evidence define relevant evidence as that which “has any

tendency to make a fact more or less probable than it would be without the evidence”

and “the fact is of consequence in determining the action.” FED. R. EVID. 401. In other

words, the expert testimony must be applicable to the facts in issue. Daubert, 509 U.S.

at 592–93.

      2. Reliability

      “Reliability hinges on the sufficiency of the facts or data upon which the opinion

is based, the dependability of the principles and methods employed, and the proper

application of the principles and methods to the facts of the case.” Greenspoint Inv'rs,

Ltd. v. Travelers Lloyds Ins. Co., No. CV H-10-4057, 2015 WL 12762088, at *1–2 (S.D.

Tex. Mar. 5, 2015); See FED. R. EVID. 702. As the Supreme Court has recognized,

the Daubert factors “may or may not be pertinent in assessing reliability, depending on



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the nature of the issue, the expert’s particular expertise, and the subject of [the]

testimony.” Kumho Tire, 119 S.Ct. at 1175; see also Watkins, 121 F.3d at 988-89 (“Not

every guidepost outlined in Daubert will necessarily apply to expert testimony[.]”). A

trial court has wide latitude in deciding how to determine reliability, just as it has

considerable     discretion       with     respect   to   the     ultimate      reliability

determination. See Kumho Tire, 119 S.Ct. at 1176.

B. Paul Nilles’s testimony is not relevant to the issues in the case.

       Paul Nilles was designated to testify as to the “construction management, general

contracting, coordination of the estimates and solicitation of bids for the actual work.”

(Document 74) When deposed, it became clear that Paul Nilles only has opinions as to

the replacement cost value of the scope of work provided by State Auto that is not in

dispute. As a result, Paul Nilles cannot provide any relevant testimony to help the trier

of fact and should be stricken.

       1. The Facts in Issue in the Case

       In Plaintiff’s Complaint, Plaintiff requested that the Court determine the

following four issues:




(Document 1)




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      In Freehold’s amended counterclaim, Freehold alleges that Plaintiff breached the

insurance contract; violated the Texas Insurance Code, Texas Deceptive Trade Practices

Act, and common law duty of good faith by:

      -   Hiring and relying upon a biased engineer to deny or lowball the claim;

      -   Failing to conduct a proper investigation into the insurance claim;

      -   Wrongfully denying the claim for damage to the built up roofs and their
          underlying decking at the property;

      -   Wrongfully delaying the payments it made; and

      -   Failing to properly pay the claim, including some withheld depreciation.

      (Document 16-1)

      Neither of the parties disputes the valuation of the items that State Auto accepted

coverage for, they simply disagree as to whether or not the built up roofing and

underlying decking was damaged by the subject storm and whether or not all of the

withheld depreciation has been paid. (Documents 1, 16-1, and 26)

      2. Nilles’s Testimony and Opinions

      As an initial matter, Nilles’ report is a factual summary with only one opinion.

That opinion is:




      At the deposition, Nilles testified that he had never visited the property or

supervised work in the DFW area, and his opinions were only regarding the reasonable




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and necessary cost for the items included in the accepted State Auto scope of work. 1

(Appendix page 15 at Deposition page 13:18-24 and Appendix pages 49-50 at

Deposition pages 47:20-48:7) Nilles testified that he was not going to provide any

opinions regarding whether the scope provided by State Auto addressed all of the

damages to the Property, only what the reasonable cost of the items in the scope was.

Appendix page 49 at Deposition page 47:16-24)

         Nilles did not review any estimates other than those that were submitted

regarding State Auto’s accepted scope, did not create his own estimates, and did not

estimate the cost to replace the fields of the built up roofing or the decking below them.

(Appendix pages 48-49 at Deposition pages 46:20-47:24; Appendix page 43 at

Deposition page 41:9-15; and Appendix page 42 at Deposition page 40:3-10) Nilles

also did not review any engineering reports or weather data regarding the subject storm

and was not asked to give opinions on causation. (Appendix page 49 at

Deposition page 47:13-15 and Appendix page 70 at Deposition page 68:8-20)

         It is clear from the deposition testimony that Nilles does not have any relevant

expert opinions about the disputed portions of the claim, the fields of the built up roofs

and the underlying decking. (See Appendix pages 3-96 generally) Nilles had no

opinions regarding the estimates provided by Freehold for these items, and had no

opinion as to the “construction management, general contracting, coordination of the

estimates and solicitation of bids for the actual work” outside of the reasonableness of

estimates provided for the previously accepted portions of the claim, which are not in

dispute. (Appendix pages 44-45 at Deposition page 41-42 at Deposition pages 39:19-


1 Freehold also believes this testimony shows that Nilles’ testimony is not reliable and is
inadmissible under FED. R. EVID. 702.



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40:20 and Appendix page44-45 at Deposition pages 42:25-43:21) As a result, Nilles’

opinion testimony will not help the trier of fact and is not admissible. See FED R. EVID.

702.

       WHEREFORE, PREMISES CONSIDERED, Defendants/Counter-Plaintiffs pray

that this Court grant their amended motion to strike the expert testimony of Paul Nilles;

refuse to allow Paul Nilles or representatives of GC3 to provide expert testimony at trial;

and award Defendants/Counter-Plaintiffs such other relief as may be proper.


                                                       Respectfully submitted,

                                                       Loree & Lipscomb,
                                                       777 E. Sonterra Blvd., Suite 320
                                                       San Antonio, Texas 78258
                                                       Telephone: (210) 404-1320
                                                       Facsimile: (210) 404-1310


                                                       By: /s/ Cassandra Pruski
                                                          Robert W. Loree
                                                          State Bar No. 12579200
                                                          rob@lhllawfirm.com
                                                          Todd Lipscomb
                                                          State Bar No. 00789836
                                                          todd@lhllawfirm.com
                                                          Cassandra Pruski
                                                          State Bar No. 24983690
                                                          cassie@lhllawfirm.com

                                                       Attorneys for Freehold Entities

                             CERTIFICATE OF SERVICE

       I certify that the Freehold Entities have served a true and correct copy of the
foregoing document on August 30, 2018 through the Court’s electronic filing (CM/ECF)
system to the following counsel of record:

       Charles B. Mitchell, Jr.
       Michael Shane O’Dell
       NAMAN, HOWELL, SMITH & LEE, PLLC
       405 Forth Worth Club Building



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     306 West 7th Street
     Fort Worth, Texas 76102-4911

     Christopher D. Kratovil
     Alison R. Ashmore
     DYKEMA COX SMITH
     1717 Main Street, Suite 4200
     Dallas, Texas 75201
     Telephone: (214) 462-6400
     Facsimile: (214) 462-6401



                                              /s/ Cassandra Pruski
                                              Cassandra Pruski




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